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                                       V.
                    LISANDRO A.CAOENAS                                       CascNo. 2l-M J-6314-AO V




                                                         CRIM INAL CO M PLAINT

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     southern    Dislrictof                        Flprj4a    .llledej
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Ti
 tle31,United States Code,                          Fai
                                                      lureto ReportTransportofMonetary lnstrumentsin Excessof$10,000.00
Section 5316(a)(1)(A)
Title31,United StatesCode,                          BulkCash Sm uggling
Section5332(a)
Title18'United StatesCode,1001                      False Statement
(a)(2)

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                            npIaintisbased()11thcscfacts:
                                         SeeAttached Affidalit.




           R Continuedon theattached sheet.




                                                                                        Mariana Gaviria.SnecialAcent.HSI
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Attested toby thc applicantin accordancewithlI1erequirel
                                                       nentsofFed.R.Crin). P.4.lby Face'l-ime onthis 13'
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Date:               0s/13/2021
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                                                     e, Florida                  A- L-ICIA- 0.VALLE,U.S.MAGISTRATE JUDGE
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                                           AFFIDAVI
                                                  T

        1,Mariana Gaviria,beingdulysworn,do herebydepose and state:

  1.    Iam a SpecialAgent with Homeland Security Investigations (''HSI') and have been so
 em ployed since Augustof2019. Iam currently assigned to the HSIAssistantSpecialAgentin

 Charge,FortLauderdale AirportGroup,in the Southern DistrictofFlorida. Ihave completed the
 Crim inalInvestigatorTraining Program and the HSISpecialAgentTraining. As a SpecialAgent,I
 have received training and have been assigned to conductinvestigations ofcriminalviolationsof
 the immigration and customs Iaws ofthe United States and ofotherfederalcriminalviolations of

 Iaw with a nexus to the Uni
                           ted States border, particularly violations being committed by
 transnationalcriminalorganizations.

 2,     The factscontained in thisAffidavitare based on my personalknowledge and information

 provided to me byotherIaw enforcementofficers.This Affidavitis being subm i
                                                                           tted forthe Iim ited

 purpose ofestablishing probable cause in supportofthe criminalcomplaintcharging Lisandro A.

 CADENAS (''CADENASN),did: knowinglyand willfull
                                               yfailto file an accurate reportas prescribed by
 the Secretary ofthe Treasury to be filed,that is,a United States Custom s and BorderProtection

 (''CBP'
       ')Currency Reporting Form CP-503,when he transported,and was about to transport,
 monetary instruments ofmore than ten thousand dollars ($10,000,00)in United States currency
 (''USC'
       ')atone time,to a place outside the United States from a place in the United States,in
 violation ofTitle 31,United States Code,Section 5316(a)(1)(A);knowinglyconcealmore than ten
 thousand dollars ($10,000.00) in United States currency (z'USC''), on his person, and in a
 conveyance,article ofluggage,and othercontainer,andattemptingtotransportsuchcurrencyfrom
 a place in the Uni
                  ted States to a place outside the United States,in violation of Ti
                                                                                   tle 31,United

 States Code,Section 5332(a);and,in a matterwithinthejurisdiction ofHSland CBP,agenciesof
 the executive branch of the United States Government,knowingly and willfully make a false,
 fictitious,and fraudulent statem entand representation to a CBP Officerthat he was transporting
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 three thousand dollars in United States currency ($3,000.00),when in truth,and in fact,he was
 transporting wellin excess ofthree thousand dollars in United States currency ($3,000.00),in
 violation ofTitle 18,United States Code,Section 1OO1(a)(2). Because this Affidavitis submitted
 forthe Iimited purpose ofestablishing probable cause,it does notinclude aIIthe details ofthe

 investigation ofwhich Iam aware.
 3.    On or about M ay 12,2021,CBP Officers atthe Fort Lauderdale-Holl
                                                                      ywood lnternational

 Airportencountered CADENAS,a Cuban nationaland IegalpermanentresidentoftheUnited States,

 during an outbound customs inspection conducted just priorto CADENAS'scheduled departure
 from the United States to Panama onboard Copa Airlinesflightnum ber266. CADENAS was also
 scheduled to catch a subsequentflightfrom Panama to Cuba aboard Copa Aiflines flightnumber
 371.Duringthe inspection,CBP officersobtained a negativeverbaldeclarationfrom CADENASfor

 the possession ofweapons,ammunition,and currency overten thousand dollars($10,000.00).
        W hen a CBP Officerasked CADENAS to declare the totalcurrency/monetary instruments in
 hispossession,CADENAS verballydeclared $3,000 USC.CADENAS stated he would prefertospeak
 in Spanish. A CBP officer asked CADENAS in his native Ianguage ofSpanish whether he was
 transporting greaterthan $10,000 in totalcurrency/monetary instruments. CADENAS verbally
 declined mul
            tipletimes and again declared a totalof$3,000 USC.
 5.     CADENAS was also presented with a CBP Currency Reporting Form CP-503 in the Spanish

 Ianguage.This CurrencyReporting Form contains a written notification explaining thatindividuals
 traveling to orfrom the United States are n0tsubjectto anylim itations asto the transportation of
 m onetary instrum ents into oroutside ofthe United States but m ust declare to custom s any such

 monetary instruments in excessof$10,000 USC oritsforeign equivalent. Upon beingallowed to
 read the form as wellas having the form verbally read to him by a CBP Officer,CADENAS again
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 denied transporting more than $10,000 and declared in writing that he was transporting only
 $3,000 USC. CADENAS circled ''Yes''in the section ofthe form indicatingthathe understood the

 noti
    fication ofthe currency reporting requirements and signed the CBP Currency Reporting Form
 CP-5O3.

 6.    During a subsequentsearch ofCADENAS'belongings,CBP discovered mul
                                                                       tiple bundles of
 United States currency more than $10,000 in separate Iocations. Approximately $1,711.00 USC

 wasinthefrontpocketofCADENAS'jeans.Approximately$5,000.00 USC wasfound wrapped ina
 handkerchiefinside the pocketofa men's purse.Addi
                                                 tionally,approximately $7,900.00 USC was
 Iocated inside ofa black wallet. CADENAS was escorted to the CBP baggage secondary area for

 furtherinspection.

       CADENAS was once again asked to declare how much currency he was transporting.

 CADENAS stated he wascarrying $19,000.00 USC. CBP Officerssubsequently asked CADENAS i
                                                                                      f
 he had anyothercurrencyon his pefson orluggage. CADENAS admitted there was more currency
 and stated he was carrying ''twenty som ething''thousand in USC. CBP found approximately

 $5,000.00 USC inside the zippered compartmentof a second wallet.Inside CADENAS'checked
 bag,a z'Black Beverly HillsPolo'
                                'backpackcontained approximately$10,000 USC wrapped in baby
 clothes.Ultimately,CBPdiscoveredatotalofapproximately$29,611U5C inCADENAS'possession.
 W hen a CBP Officerasked why he was transporting so much currency,CADENAS stated he was
 planningto buya carin Cuba which wasworth $60,000.
 8.    Law enforcementsubsequentlyread CADENAS his M iranda rights intheSpanish Ianguage,

 which he voluntarilywaived bothverballyand inwriting.CADENAS said he travels toCuba multiple
 times a yearbecause his fam ily resides there. CADENAS stated thathe works painting vehicles in

 the United Statesand had saved his earnings to buya carin Cuba forapproximately $22,000.00

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  USC. CADENAS Iateradm itted that a portion ofthe currency in his possession was deri
                                                                                     ved from a

  businessarrangementin which he and his wife facilitatethe transferofcurrencyfrom the United

  States to Cuba On behalfoftheircustom ers.

  9.     CADENAS said he had heard from ''people'
                                                'thatoutbound currencymore than $10,000.00
  would be confiscated from him by custom s.CADENAS also stated he was aware ofthe requirem ent

  to reportcurrencymorethan$10,000.00 whenenteringthe Uni
                                                        tedStatesfrom abroad butdenied
  knowing hewas also requiredto declare outbound currencymore than $10,000,00.
  1O. W hen asked why he had only declared $3,000.00 even afterCBP explained the reporting
  requirem ents,both verbally and by wri
                                       tten form ,CADENAS stated he had done so because he was

  nervous. W hen asked why he had notasked the CBP Officerany questions ifhe was unclearabout

  the form ,he stated thathe sim ply did not.W hen asked why he had splitand concealed the currency

  in such a specific m annerin various locations,CADENAS stated he had done so to preventCuban

  officialsfrom takingthe moneyfrom him uponarrival.Law enforcementIaterasked CADENAS ifhe
  had notreported the excess currency because he was afraid that i
                                                                 twould be confiscated from him

  by custom s. CADENAS responded in the affirmative.

  11.    Based on the inform ation provided above,Irespectfully subm i
                                                                     tthatthere i
                                                                                s probable cause

  to believe that on oraround May 12,2021,in Broward County,in the Southern DistrictofFlorida,

  CADENAS did: knowingly and will
                                full
                                   yfailtofile an accurate reportas prescribed bythe Secretary

  ofthe Treasuryto be filed,thatis,a UnitedStates Custom sand BorderProtection(''CBP'
                                                                                    ')Currency
  Reporting Form CP-5O3,when hetransported,and wasaboutto transport,m onetary instruments

  ofmore than ten thousand dollars ($10,000.00)in United States currency ('USC'')atonetime,to
  a place outside the United States from a place in the Uni
                                                          ted States,in violation ofTitle 31,United

  States Code, Section 5316(a)(1)(A); knowingly conceal more than ten thousand dollars

                                                 4
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   ($10,000.00)in United States currency (''USC'
                                               '),on his person,and in a conveyance,article of
   Iuggage,and othercontainer,and attem pting to transportsuch currency from a place in the United
   States to a place outside the United States,in violation ofTitle 31,United States Code,Section

   5332(a);and,inamatterwi
                         thinthejurisdictionofHSland Customsand BorderProtection('CBP''),
   agencies ofthe executive branch ofthe UnitedStatesGovernment,knowinglyand willfullymakea
   false,fictitious,and fraudulent statem ent and representation to a United States Custom s and

   BorderProtection Officerthathe was transporting three thousand dollars in United Statescurrency

   ($3,000.00),whenintruth.and infact,hewastransportingwellinexcessofthreethousand dollars
   in United States currency ($3,000.00),in violation of Ti
                                                          tle 18,United States Code,Section
   1001(a)(2).
          FURTHER AFFIANT SAYETH NAUGHT

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                                            MARIANA GAVIRIA
                                            SPECIALAGENT
                                            HOM ELAND SECURITY INVESTIGATIONS


   Attested to bythe applicantinaccordance wi
                                            th the requirements ofFed.R.Crim .P.4.1 by FaceTime
   on this 13THday ofMay,2021 at FortLauderdal  e,Florida.



   ALICI 0.VALLE
   UNITED STATES MAGISTRATE JUDGE
